Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
                          Exhibit A-1 Page 1 of 11




                         EXHIBIT A-1
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 2 of 11




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 3 of 11


/Bilingual/




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 4 of 11




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                              Desc:
                          Exhibit A-1 Page 5 of 11




                                   Commonwealth – Department of Family Affairs




                                                                                                  I am an employee




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 6 of 11




                                Labor claim. Minimum Wage Class action lawsuit. Civil Case KAC-07-0214




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 7 of 11




                                                   Services Assistant
                                                   Department of Family




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 8 of 11




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 9 of 11




                                                                       2




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit A-1 Page 10 of 11




Certified to be a correct and true translation from the source text in Spanish to the target language English.
20/DECEMBER/2021 - Andreea I. Boscor ATA-certified Spanish-English #525556
By Targem Translations Inc.
Case:17-03283-LTS Doc#:19796-2 Filed:01/17/22 Entered:01/17/22 15:06:23                                        Desc:
                          Exhibit A-1 Page 11 of 11




                               TRANSLATOR’S CERTIFICATE OF TRANSLATION




Translation from: Spanish (Puerto Rico) into English (US)

TARGEM Translations Inc.



I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a NEW
YORK City corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to
the best of my knowledge.




Original Document Name: Claim No. 168021




                                                                       Signed this 20th day of December, 2021




                                                                       __________________________

                                                                            Andreea I. Boscor
